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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION

STATE OF MISSISSIPPI; STATE OF
ALABAMA; STATE OF ARKANSAS;
COMMONWEALTH OF KENTUCKY;
STATE OF LOUISIANA; STATE OF
MISSOURI; and STATE OF MONTANA,
                        Plaintiffs,
                                                            No. 1:22-cv-113-HSO-RPM
v.

XAVIER BECERRA, in his official
capacity as Secretary of Health and
Human Services; THE UNITED
STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
CHIQUITA BROOKS-LASURE, in her
official capacity as Administrator of the
Centers for Medicare and Medicaid
Services; THE CENTERS FOR
MEDICARE AND MEDICAID
SERVICES; THE UNITED STATES
OF AMERICA,
                              Defendants.
____________________________________________

 REBUTTAL IN SUPPORT OF MOTION FOR LEAVE TO PARTICIPATE AS AMICI
  CURIAE IN SUMMARY JUDGMENT HEARING ON BEHALF OF GREENSBORO
      HEALTH DISPARITIES COLLABORATIVE AND THE NAACP STATE
     CONFERENCES FOR ALABAMA, ARIZONA, ARKANSAS, KENTUCKY,
            LOUISIANA, MISSOURI, MISSISSIPPI, AND MONTANA

       Amici’s participation at a summary judgment hearing would be helpful, limited, and

entirely proper. ECF No. 113 at 2-7. Defendants do not disagree. And Plaintiffs’ opposition falters

by expanding Federal Rule of Appellate Procedure 29 beyond its proper reach, speculating about

non-existent time limits at a not-yet-scheduled hearing, and creating a rule that would bar amicus

curiae’s participation at oral argument in every case. Amici respectfully requests that this Court

grant their request for 15 minutes to present oral argument at any hearing this Court holds on the

parties’ cross-motions for summary judgment.
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       1. As this Court explained, “the Court has broad discretion to determine the scope of an

amicus’s participation in the case, see Morales v. Turman, 820 F.2d 728, 730 (5th Cir. 1987).”1

ECF No. 87 at 17-18. The Court should exercise that discretion to permit Amici’s participation at

any summary-judgment hearing. ECF No. 113 at 2-7. Amici presented case-dispositive issues that

Defendants failed to raise in their briefing, including Plaintiffs’ lack of evidence on their theory of

law-enforcement standing and on Plaintiffs’ flawed statutory interpretation. Amici also more fully

discussed the parens patriae and ultra vires issues than Defendants, and would be prepared at a

summary-judgment hearing to answer any of the Court’s outstanding questions.

       Plaintiffs’ arguments for denying Amici an opportunity to fully air their position at the

summary-judgment hearing do not wash. It is no surprise that Defendants do not endorse them.

       2. Plaintiffs selectively quote this Court’s intervention order to insinuate (at 1) that “courts

typically apply [FRAP] 29” to decide whether amici curiae should participate at oral argument.

By Plaintiffs telling, Amici must justify its participation at oral argument with “extraordinary

circumstances” unless a party agrees to share its oral argument time. Id. (citation omitted). This

badly misconstrues the intervention decision and the cases this Court relied upon.

       This Court considered Rule 29 to determine whether the Collaborative and the NAACP

State Conferences were eligible for “[a]micus status,” not to define the scope of Amici’s

participation. ECF No. 87 at 17. The cases this Court relied upon for adopting Rule 29 confirm the

point. In United States ex rel. Gudur v. Deloitte Consulting LLP, LLC, the district court adopted

Rule 29 for help “defin[ing] a federal district court’s power to grant or deny leave to file an amicus

brief.” 512 F. Supp. 2d 920, 927 (S.D. Tex. 2007) (emphasis added). Similarly, in Rowland v.




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  In Morales, the district court permitted amici curiae to “participate in this lawsuit as fully and
to the same extent as though they were actual parties in interest.” 820 F.2d at 730.
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GGNSC Ripley, the district court stated that trial court’s “inherent authority to appoint or deny

amici . . . is derived from Rule 29.” No. 3:13-CV-11-DMB-SAA, 2016 WL 4136486, at *4 (N.D.

Miss. Aug. 3, 2016) (emphasis added). Neither used Rule 29 to limit the scope of Amici’s

participation; that is likely why Plaintiffs do not cite them. Indeed, Plaintiffs do not identify a

single example of a district court requiring amicus curiae to show “extraordinary circumstances”

as a prerequisite to participating at a summary-judgment hearing.

       If anything, the advisory comments to Rule 29 highlight the folly of mechanically applying

appellate rules to district court proceedings. The comments suggest that an amicus curiae must

present “extraordinary reasons” to participate in argument when a party is unwilling to share her

argument time with amicus; otherwise, “it is not unusual for a court to permit an amicus to argue.”

Fed. R. App. 29, adv. comm. notes. This guidance makes sense on appeal. Appellate courts,

including the Fifth Circuit, generally have local rules that limit the amount of time permitted for

oral argument, and sparingly grant requests for additional time. 5th Cir. R. 34.11, 34.12; see also,

e.g., 6th Cir. R. 34(f)(1); 8th Cir. R. 34A(b); 11th Cir. R. 34-4, I.O.P. 10-11. When a party and

supporting amicus share argument time, the amicus’s participation presents no threat to the court’s

limits. By contrast, when a party declines to share argument time, amicus participation requires an

appellate court to allot additional argument time to case. In this way, the “exceptional reasons”

requirement for non-party participation in argument does little more than parallel appellate courts’

admonition that “[a]dditional time for oral argument is sparingly permitted.” 5th Cir. R. 34.12.

       The same is not true in the Southern District of Mississippi. Neither the local rules nor this

Court have prescribed time limits for arguments at summary-judgment (or any other) hearings.

And neither the local rules nor this Court have indicated that the parties are guaranteed equal time

to present their arguments. This Court could therefore grant Amici leave to present argument at



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the summary-judgment hearing without departing from the Court’s default time limits or impeding

upon time reserved for the parties. Rule 29 simply has no traction here.

       3. Nor are Plaintiffs’ other arguments persuasive. According to Plaintiffs, this Court cannot

consider Amici’s arguments if Defendants did not raise them and need not consider Amici’s

arguments if Defendants did raise them. ECF No. 120 at 4-5. The upshot of this two-step rule is

that participation by amicus curiae at summary judgment hearings is never permitted. The

problem: Plaintiffs’ approach is inconsistent with the settled principle that courts enjoy “great

liberality in permitting an amicus curiae to file a brief in a pending case” and “to argue the case.”

Cazorla v. Koch Foods of Mississippi, LLC, No. 3:10CV135-DPJ-FKB, 2014 WL 2163151, at *3

(S.D. Miss. May 23, 2014) (internal quotation marks omitted).

       First, this Court can consider arguments raised by Amici that Defendants declined to raise.

District courts have for decades considered arguments raised only by amicus curiae. See, e.g.,

Elizondo v. Spring Branch Indep. Sch. Dist., No. 4:21-CV-01997, 2022 WL 19978266, at *2-3

(S.D. Tex. Mar. 11, 2022) (denying motion based solely on arguments raised by amicus curiae);

Clark v. Roemer, 777 F. Supp. 445, 465 (M.D. La. 1990) (considering distinct arguments of amicus

curiae on the merits); see also Supreme Beef Processors, Inc. v. U.S. Dep’t of Agric., No.

CIV.A.3:99CV2713G, 2000 WL 127281, at *2 (N.D. Tex. Feb. 2, 2000) (noting that amicus curiae

status permitted non-party to “raise issues not addressed by [the parties]”). Plaintiffs fail to engage

with, let alone refute, this longstanding practice.

       Instead, Plaintiffs insist that Voices for International Business and Education, Inc. v.

National Labor Relations Board—a case that applies only to amicus participation on appeal from




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a NLRB decision2—cabins amicus participation at summary judgment because forfeiture applies

in district courts as it does on appeal. ECF No. 120 at 3 (citing Voices, 905 F.3d 770, 776 n.6 (5th

Cir. 2018)). None of the cases Plaintiffs cite for this proposition actually support it. Neither Thomas

v. Nationstar Mortgage, LLC, No. 2:22CV88-HSO-LGI, 2023 WL 2780360, at *7 (S.D. Miss.

Feb. 6, 2023) nor Jamison v. McClendon, 476 F. Supp. 3d 386, 418 (S.D. Miss. 2020) involved

amicus curiae at all. They stand for little more than the undisputed notion that district courts are

not expected to rule on arguments that they lack any opportunity to consider. See Vaughan v.

Lewisville Indep. Sch. Dist., 62 F.4th 199, 206 n.38 (5th Cir. 2023) (argument not forfeited before

district court where district court had opportunity to consider it). DCOR, LLC v. United States

Department of the Interior, No. 3:21-CV-00120-N, 2023 WL 4748197, at *1 & 9 n.21 (N.D. Tex.

July. 24, 2023) and Tafas v. Dudas, 511 F. Supp. 2d 652, 660-61 (E.D. Va. 2007) are no more

helpful. DCOR—like Voices for International Business—involved a challenge to agency

adjudication—a context in which the district court acts as a reviewing court, not a court of first

instance. And neither case provided any explanation for why a bar on new arguments by amicus

on appeal should apply with equal force to arguments that amicus present to a district court. As

Amici explained, it should not. ECF No. 113 at 5.

       Second, Plaintiffs suggest (ECF No. 120 at 3-4) that Amici cannot even provide a different

perspective on the arguments that a party did raise because this Court already found that Amici’s

interests were adequately represented. Plaintiffs are wrong to conflate the interests required for

intervention with those required for participation as an amicus curiae. A non-party’s interest in the




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  Section 10(e) of the National Labor Relations Act provides that, absent “extraordinary
circumstances,” “[n]o objection that has not been urged before the Board ... shall be considered
by the court.” 29 U.S.C. § 160(e).
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outcome of a case may be sufficient to justify participation as an amicus curiae even if it is not

deemed sufficient to justify intervention. In re Halo Wireless, Inc., 684 F.3d 581, 596 (5th Cir.

2012) (quoting Ryan v. CFTC, 125 F.3d 1062, 1063 (7th Cir. 1997)). The parties have already

conceded, and this Court has found, that Amici’s interest in this case warrants participation as

amicus curiae. ECF No. 87 at 8, 17-18. The only question presented by Amici’s request is whether

this Court will permit Amici’s participation to extend to the summary-judgment hearing.

       Third, Plaintiffs maintain that Amici need not present argument at a summary judgment

hearing because Amici’s brief “already presented their arguments.” ECF No. 120 at 4-5. But

Plaintiffs don’t buy their own argument. Plaintiffs have filed three separate briefs on the propriety

of summary judgment. ECF Nos. 79, 108, 109. Their request for a summary-judgment hearing

nonetheless remains pending. Indeed, Plaintiffs place so much stock in the value of oral argument

that they believe “fairness to Plaintiffs” requires that any argument time awarded to Amici must

be deducted from Defendants’ (hypothetical) allotment of argument time. ECF No. 120 at 2 n.1.

Plaintiffs’ problem with Amici’s participation in oral argument is not 15 minutes of time, but the

real risk that this Court might deem substantial Amici’s contributions.

                                               ***

       Properly understood, the role of amicus curiae is to provide “unique information or

perspective that [could] help the court beyond the help that the lawyers for the parties are able to

provide.” In re Halo Wireless, Inc., 684 F.3d at 596 (quoting Ryan, 125 F.3d at 1063). Amici

respectfully request that this Court allow Amici to satisfy that role at any summary-judgment

hearing that the Court schedules.




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Respectfully submitted, this 20th day of October, 2023.


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                               CERTIFICATE OF SERVICE

       I certify that on October 20, 2023, the foregoing document was filed on the Court’s

CM/ECF system which sent notification of such filing to all counsel of record.


                                                           /S/ Robert B. McDuff
